









Dismissed and Memorandum Opinion filed December 18, 2003









Dismissed and Memorandum Opinion filed December 18,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01183-CR

____________

&nbsp;

JOSE LUIS CANCEL, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
182nd District Court

Harris County, Texas

Trial Court Cause No. 962,713

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a guilty plea to the felony offense of
theft.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, on September 26, 2003, the trial court
sentenced appellant to confinement for two years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed December 18, 2003.

Panel consists of Chief Justice
Hedges and Justices Anderson and Seymore..

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





